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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF TEXAS

BEAUMONT DIVISION
GAMES PEOPLE PLAY, INC., §
Plaintiff, : CIVIL ACTION NO.
V. : 1:14-CV-00321-MAC
NIKE USA, INC., :
Defendant. :

 

NIKE’S UNOPPOSED MOTION TO ENFORCE SETTLEMENT AGREEMENT BY
ENTRY OF JUDGMENT

 

Defendant Nike USA, Inc. (“Nike”) hereby moves to enforce its settlement agreement
with Plaintiff Games People Play, Inc. (“GPP”). A proposed order is attached as Exhibit A. In
support of this motion, Nike states as follows:

l. In its original, first amended, and second amended complaints in this case (filed
May, 16, 2014, July 2, 2014, and October 14, 2014, respectively), GPP alleged various claims
against Nike, including violation of the Robinson—Patman Act and Oregon common-law and
statutory claims. ECF Nos. 2, 16, & 29.

2. Nike counterclaimed for an account stated, breach of contract, action for the price,
and goods sold and delivered, all related to certain goods that Nike had delivered to GPP but that
GPP had not paid for. ECF No. 46 (February 27, 2015).

3. After nearly three years of litigation, the parties reached a settlement agreement
(“Settlement Agreement”). ECF No. 105 (Joint Motion for Entry of Agreed Judgment, filed
February 3, 2017). Under the Settlement Agreement, January 31, 2017, the parties agreed that

GPP owed Nike $196,341.04 (“Judgment Amount”) on Nike’s counterclaim, and that this
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represented GPP’s debt to Nike for goods that GPP ordered from Nike and that Nike delivered to
GPP, together with interest and costs as provided by the parties’ contract. /d. The Settlement
Agreement further provided for dismissal of all claims against Nike with prejudice. /d. In the
Settlement Agreement, the parties further agreed that, in the event GPP breached the Settlement
Agreement, it would not oppose entry of judgment for the outstanding balance of the Judgment
Amount. /d. The parties asked the Court to retain jurisdiction over the case for purposes of
enforcing the Settlement Agreement. /d. A copy of the Settlement Agreement is attached hereto
as Exhibit B.

4. On February 7, 2017, this Court entered an Order of Dismissal. ECF No. 106. The
Court ordered that, “[i]n accordance with the parties’ Joint Motion for Entry of Agreed Judgment
(#105), filed February 3, 2017, this action is dismissed in its entirety, with prejudice. Each party
shall bear its own costs of court and attorney’s fees. The court retains jurisdiction to enforce the
parties’ settlement agreement.” The Court stated that this was a final judgment. /d.

5. GPP has breached the Settlement Agreement by failing to make timely payments
and failing to cure, and it has indicated through counsel that it does not intend to make the
remaining payments. A summary of GPP’s payment history is provided in the attached Exhibit C,
Declaration of Jessica Baumann. GPP currently owes Nike $168,841.04.

6. In accordance with the parties’ settlement agreement, the Joint Motion for Entry
of Agreed Judgment (ECF No. 105), and the Order of Dismissal (ECF No. 106), Nike is entitled
to entry of judgment against GPP in the amount of $168,841.04.

CONCLUSION
For the foregoing reasons, Nike asks the Court to enter judgment in favor of Nike and

against GPP in the amount of $168,841.04, in the form attached as Exhibit A.
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Respectfully submitted,

/s/ Alan Dabdoub

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CERTIFICATE OF SERVICE
I hereby certify that the above document, was filed through the ECF system for
electronic service to the registered participants as identified on the Notice of Electronic
Filing, and paper copies will be sent by First-Class mail to those indicated as non-registered

participants (if any) on October 1, 2018.

/s/ Alan Dabdoub
Alan Dabdoub

 
